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                                    United States District Court
                                                              for ihe

                                                    Southern District of Ohio


                  Uniled Stales of America
                              V.

                                                                        Case No.      2:21-mj-638

                      Zaire D. JONES


                         IXJciidani(s)


                                              CRIMINAL COMPLAINT

         I, the complainant in (his case, state that the following is true to the best of my knowledge and belief.
On or about the datefs) of               September 10.2021              in the county of _            Franklin             in the
    Southern          District of            Ohio            ,the defendant(s) violated:

            Code SeclUm                                                    Offense Description
18U.S.C.§§ 2(a)& 922(a)(6)                   Aiding and abetting a person to make a faise statement or fumish a false
                                             document to a iicensee in attempt to acquire a firearm or ammunition and the
                                             statement was intended or was iikeiy to deceive the licensee with respect to
                                             any fact material to the lawfulness of the sale In violation of Titie 16. Uniled
                                             States Code. Sections 2(a)and 922(a)(6).




         This criminal complaint is based on these facts:
See Attachment A (affidavit), Incorporated herein by reference.




        sf Continued on Ihe attached sheet.

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                                                                                     Teresa Petit, ATF Special Agent
                                                                                           Panted name and title


Sworn to before me and signed in my presence.


Date;       ^0'^'Z t
                                                                                             Judge'ssii

City and slate:                       Columbus. Ohio                            Chslsey M. Vascura, U
                                                                                           Printed itaine'
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                                                ATTACHMENT A

I, Teresa Petit, being duly sworn,depose and state that:

I have been a Special Agent(SA), with the Unit«l States Department of Justice, Bureau of Alcohol, Tobacco,
Firearms and Explosives(ATP)since May of2014. I am a graduate ofthe ATP National Academy Special Agent
Basic Training Program and the Federal Law Enforcement Training Center,Criminal Investigator Training Program.
As a result of my training and experience as an ATP Special Agent, 1 am familiar with Federal criminal laws
pertaining to fireanns violations. As a Special Agent,1 am also authorized to carry firearms,execute warrants, make
arrests for offenses against the United States, and perform other such duties as authorized by law.

     1. This affidavit is made in support ofa criminal complaint against Rebecca ALLARD(DOB:6/1/1980) and
        Zaire JONES (11/2/2001). The complaint alleges that ALLARD violated Title 18, United States Code,
        Section 922(a)(6), by knowingly making a false or fictitious oral or written statement that was intended or
         likely to deceive a federal firearms licensee(PPL)with respect to any fact material to the lawfulness of the
         sale or other disposition of a firearm in connection with the acquisition or attempted acquisition of said
         firearm. The complaint alleges that JONES violated Title 18,Unit^ States Code,Section 2(a),by aiding and
         abetting ALLARD in committing the underlying violation of Section 922(a)(6). The statements in this
         affidavit are based upon my training and experience, consultation with other experienced investigators and
         agents,review ofrelated documents,and other sources ofinformation relative to firearms investigations. This
         affidavit is intended to set forth probable cause in support ofthe criminal complaint and does not purport to
         set forth all ofmy knowledge r^arding this investigation. I did not, however, withhold any information or
         evidence that would negate probable cause.

     2. In my training and experience,it is common for individuals who are prohibited fixtm purchasing or possessing
        a firearm to use a straw purchaser to complete the retail transaction on their behalfor to acquire firearms fiom
         other unlicensed individuals. It is also common for straw purchasers to receive a benefit ofsome type,in this
         situation, a monetary benefit, to assume the risk of purchasing the firearm. More specifically a "straw"
          purchase is described as the acquisition ofa firearm(s)from a dealer by an individual(the "straw"),done for
         the purpose ofconcealing the irlentity ofthe true intended recipient or transferee ofthe firearm(s).

     3. On September 10,2021, ALLARD and JONES traveled together to a central Ohio PPL,located within the
        Southern District of Ohio. Upon arriving at the PPL, ALLARD and JONES entered the store at different
          times, looked at firearms, and distanced themselves fixim interacting while inside the store. Your affiant
          knows that this behavior is consistent with individuals who are engaging or attempt to engage in a straw
          purchase. It is also common for the actual buyer ofthe firearm to accompany the straw purchaser to the PPL
          to identify or pick out the anticipated firearm.

     4. In this situation, the PPL would have been prohibited from conducting the firearm transaction directly with
          JONES according to Title 18, United States Code, Section 922(b)(1), which states that it shall be unlawful
          for any licensed dealer to sell to any individual whom the licensee knows or has reasonable cause to believe
          is less than twenty-one years ofage with respect to the sale or disposition ofa handgun. At the time of the
          purchase, JONES was also under indictment in the Franklin County Court of Conunon Pleas for Improper
          Handling of a Firearm (Case Number 20-CR-49S6), a felony of the fourth degree, which is punishable by
          more than one year ofimprisonment This indictment was filed in October 2020,and therefore, according to
          Title 18, United States Code,Section 922(n), would also have prohibited JONES from receipt ofany firearm
          fium the PPL on September 10,2021,if the firearm had been shipped or transported in interstate or foreign
          commerce.
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    5. Continuing on September 10,2021,ALLARD purchased a Century Arms manufactured, Draco model,7.62
          caliber, semi-automatic handgun, bearing serial number 2IDF-8664 from the central Ohio FFL. In my
         training and experience, and in consultation with other experienced ATF agents, I know that Century Arms
         manufactured Draco handguns are not manu&ctured in the State ofOhio. Therefore, the firearm must have
         been shipped or transported in interstate or foreign commerce prior to ALLARD's purchase of it on
         September 10,2021.

    6. To consummate the sale, ALLARD was required to complete an ATF Firearms Transaction Record, more
         commonly referred to as ATF Form 4473. In the process, ALLARD attested on the ATF Form 4473 that she
         was the actual transferee or buyer of the firearm. She also acknowledged the warning on that form that
         advised as follows:"You are not the actual transferee/buyer if you are acquiring the firearm(s) on behalf of
         another person. If you are not the actual transferee/buyer, the licensee carmot transfer the firearm(s)to you."

    7. On September 10, 2021, officers fixim the Columbus Division of Police(CPD)responded to 486 Hanley
       Street, Columbus, Ohio, with information of shots fired. Upon arriving at 486 Hanley Street, officers
         recovered nine(9)spent shell casings and three(3)live rounds of 7.62 caliber ammunition. There were no
         victims located. During the investigation, officers learned fiom a neighbor that the shots had been fired by
         JONES. The recovered shell casings and ammunition were submitted to the CPD property room.

    8. Between the approximate dates ofSeptember26-28,2021,investigators learned that ALLARD was provided
       with a couple hundred dollars for completing the straw purchase. Investigators also learned that the firearm
       was stored in a residence belonging to the mother ofJONES's child. Additionally,investigators learned that
         JONES admitted to shooting the aforementioned firearm in the immediate area ofthe shots fired incident that
         occurred on September 10,2021.

    9. On September 29, 2021, investigators obtained a search warrant from Franklin County Municipal Court,
         Honor^le Judge O'Grady, for the location of 30 North Eureka Avenue, Columbus, Ohio. During the
         execution of that search warrant, investigators recovered the Draco 7.62 handgun bearing serial number
         2IDF-8664. This residence located at 30 North Eureka Avenue belongs to the mother of JONES's child.
         The firearm was submitted to the CPD lab for analysis.

     10. On September 30,2021, ATF received video from the FFL that shows both ALLARD and JONES present
         during the acquisition of the Draco handgun. Investigators have received the ATF Form 4473, where
         ALLARD provided false or ficdous statements during the acquisition of the firearm that were intended or
         likely to deceive the FFL. Your affiant has also received the sales receipt for the Draco handgun,indicating
         it was purchased by ALLARD. The ATF Form 4473 contains ALLARD's identifying information, the
         documented firearm,and her signature.

     11. On October 1,2021, investigators conducted a query ofthe National Crime Information Center(NCIC)to
         determine if the firearm had been reported stolen. There was no record of the serial number located and,
         therefore, it is believed that the firearm was not reported to be stolen. Investigators also received information
         after preliminary CPD lab analysis showing that laboratory personnel believe that the spent shell casings
         recovered at 486 Hanley Street were fired by the same firearm recovered at 30 North Eureka Avenue,because
         they display the same general characteristics as t^t fires fix>m that weapon.

     12. ALLARD is further described as a female, white,date ofbirth June 1, 1980,5'2"tall, 148 pounds,with a last
         known address of1102 Burlake Square,Galloway,Ohio 43119. JONES is further describ^ as a male,black,
         date of birth November 2, 2001, 6'I" tall, 160 pounds, with a last known address of486 Hanley Street,
          Apartment B,Columbus,Ohio 43203.
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    13. Based upon the aforementioned information and events,and your affiant's training and experience in dealing
        with Federal firearms violations, probable cause exists to believe that on or about September 10,2021,in the
        Southern District of Ohio, Zaire JONES did aid and abet Rebecca ALLARD in making a false or fictitious
        oral or written statement(s)during the acquisition or attempted acquisition ofa firearm fnam a federal firearm
        licensee, and that such statementfs) was intended or likely to deceive such licensee with respect to a material
       fact as to the lawfulness of the sale ofsuch firearm,in violation ofTitle 18, United States Code,Section 2(a),
       for an underlying violation of Title 18, United States Code,Section 922(a)(6).




Teresa Petit, ATP Special Agent




                                                          C,vv\\/
Swom to before me and signed if




                                                                         (a- M-X.)
Chelsey M. Vascura                                                     Date

U.S. Magistrate Judge
